✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                              EASTERN                                                  DISTRICT OF                                    TENNESSEE


               UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                          Joshua Cain Davis                                                                            Case Number: 2:19-CR-196

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Cynthia Richardson Wyrick                                          J. Gregory Bowman                                         D. R. Smith
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 12/30/19                                                           DCR                                                       Jason Keeton
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

             w       12/30/2019                                     Joseph L. Tribble

             w       12/30/2019                                     Mary Napier




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages

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